Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 1 of 26 PagelD 1462

Exhibit A
-CV-00192-AEP_ Document 127-1 Filed 05/02/17 Page 2 of 26 PagelD 1463
115-cv-00192- AFP Document 71 Filed 05/06/16 Pane 1 of 6 PagelD 951

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
AMERICAN GENERAL LIFE
INSURANCE COMPANY,
Plaintiff,
Vv. : CASE NO.: 8:15-CV-00192-EAK-AEP

KEVIN H, BECHTEL and LIFE
BROKERAGE PARTNERS, LLC,

Defendants.

_ AMERICAN GENERAL LIFE INSURANCE COMPANY’S
FIRST AMENDED COMPLAINT

Plaintiff American General Life Insurance Company (“American General”), by and
through its attorneys, files this First Amended Complaint against defendants Kevin H. Bechtel
and Life Brokerage Partners, LLC, and alleges as follows:

THE PARTIES

1, American General is a life insurance company organized under the laws of the
State of Texas and it maintains a principal place of business in the State of Texas. American
General is a citizen of the State of Texas within the'meaning and intent of 28 U.S.C. § 1332.

2, Defendant Kevin H. Bechtel (“Bechtel”) is a citizen and resident of the State of
Florida. Bechtel, therefore, is a citizen of the State of Florida, within the meaning and intent of
28 U.S.C. § 1332.

3, Defendant Life Brokerage Partners, LLC (“LBP”) is a limited liability company

organized under the laws of the State of Florida with its principal place of business located in

- Palm Harbor, Florida. LBP, therefore, is a citizen of the State of Florida within the meaning of

28 U.S.C. § 1332.
Case 8:15-cv-00192-AEP _Document 127-1 Filed 05/02/17 Page 3 of 26 PagelD 1464
Case 8:15-cv-00192-A"™ Document 71 Filed 05/06/16 Pr 2 of 6 PagelD 952

JURISDICTION AND VENUE

4. Plaintiff and Defendants are citizens of different states, and as is more fully set
out below, the matter in controversy exceeds the sum of $75,000, exclusive of interest, attorney's
fees and costs. Therefore, this Court has jurisdiction pursuant to 28 U.S.C. § 1332. -

5. This Court is a proper venue for this declaratory judgment action pursuant to 28
U.S.C. § 1391 because a both defendants reside in Pinellas County, Florida, which is in the
Middle District of Florida, Tampa Division, pursuant to 28 U.S.C. § 89(c),

6. American General seeks, among other relief, a declaratory judgment pursuant to
Fed. R. Civ. P. 57 and 28 U.S.C. §§ 2201 and 2202, which grant the United States District Courts .
jurisdiction to "declare the rights and other legal relations of any interested party seeking such
declaration, whether or not further relief is or could be sought.”

FACTUAL BACKGROUND

7, American General is, and during all relevant times has been, in the business of
underwriting and issuing policies of insurance,

8. Defendant Bechtel was appointed as a representative of American General on
or about February 24, 2003. Pursuant to the Agency Agreement entered into between Bechtel
and American General, Bechtel was authorized to solicit applications for insurance on behalf
of American General. A copy of the "Agency Agreement" is attached as Exhibit A hereto.

9, Non-party Stephen Wechsler ("Wechsler") was appointed as a representative of
American General on or about May 17, 2006. Pursuant to the contract entered into between
Wechsler and American General, Wechsler was authorized to solicit applications for insurance

on behalf of American General.
_ Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 . Page 4 of 26 PagelD 1465
_ Case 8:15-cv-00192-A"™ Document 71 Filed 05/06/16 Pr > 3 of 6 PagelD. 953

10. On or about March 1, 2007, American General entered into an Agency Agreement
with Bechtel’s single member LLC, Life Brokerage Partners, LLC. A copy of the signature page
along with a specimen copy of the terms of the “Agency Agreement” is attached as Exhibit B
hereto. '

11, At the time the 2007 Agency Agreement was entered into with LBP, American
General agreed to an assignment of commission request made by Bechtel whereby Bechtel
assigned to LBP his right to receive commission payment he earned,

12. On or about April 27, 2007, American General also agreed to classify and
recognize Wechsler as a sub-agent of Bechtel for purposes of paying bonus and/or override
commissions to Bechtel / LBP for business submitted by Wechsler. For purposes of the Agency
Agreement, Wechsler, as a sub-agent (also referred to as a "downline" agent), would be
considered "under the jurisdiction" of Bechtel.

13. On or about August 3, 2007, American General issued policy numbers
UM0044158L and UM0044159L on the life of Michael Sasoni (hereinafter the "Sasoni
Policies"). The commissions paid pursuant to the sale of the Sasoni Policies were divided
between Wechsler and Bechtel on a 65-35% split, with Wechsler receiving the larger portion.

14. In total, from October 2007 through October 2010, Wechsler received
$252,506.80 in commission payments on each of the Sasoni policies for a total amount of

$505,013.60.

' It was commonplace in 2007 for American General to only retain an electronic copy of the
signature page for agency agreements. The signature page attached as Exhibit B references a
form number (AGLB 1056-1105) in the bottom right hand corner, This form number
corresponds with the contractual terms found in the specimen copy of the agency agreement
made part of Exhibit B. Together, they accurately reflect the terms and conditions of the agency
agreement entered into between American General and LBP in 2007.
Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 5 of 26 PagelD 1466
Case 8:15-cv-00192-A"™ Document 71 Filed 05/06/16 Pr +4 of 6 PagelD 954

15, Similarly, from October 2007 through October 2010, Bechtel / LBP received
$141,753.20 in regular commissions and an additional $152,224.00 in bonus commission
payments on each of the Sasoni policies for a total amount of $587,994.40.
16. In July 2009, American General instigated litigation against the owners of the
Sasoni Policies seeking a judicial declaration that the policies be rescinded and declared void. On
July 3, 2014, American General reached an agreement with the owners of the Sasoni Policies
regarding the status of the policies. Pursuant to that agreement, American General rescinded the
Sasoni Policies and returned all premiums paid thereunder.

17. Under the terms of the Agency Agreements, in the event American General
determines that a policy of insurance is due to be rescinded and premiums refunded, the
representative is obligated to immediately return all commissions received from the rescinded
policy upon demand Moreover, the Agency Agreements make Bechiel and LBP responsible for
the debts of all downline representatives.

18, On November 10, 2010, Wechsler filed a petition for bankruptcy protection in
the Southern District of New York and was discharged on August 20, 2012, As a result of
Wechsler's bankruptcy proceedings, commissions paid to him pursuant to the Sasoni Policies
may not be now be charged back following the recent rescission. As a result, Bechtel and LBP
are responsible for the entirety of the commissions paid to Wechsler on the Sasoni Policies,

19, . The Agency Agreements required Bechtel and LBP to return unearned
comumissions paid on the Sasoni Policies as well as unearned commissions paid to Wechsler.
Despite American General's demand, Defendants have refused to repay these commissions to
American General in breach of the Agency Agreements. As a result, American General is forced

to bring this Complaint against Defendants seeking, among other thing, the repayment
, Case 8:15-cy-00192-AEP Document 127-1 Filed 05/02/17 _ Page 6 of 26 PagelD 1467
Case 8:15-cv-00192-A” ~ Document 71 Filed 05/06/16 P’ +5 of 6 PagelD 955

COUNT ONE — BREACH OF CONTRACT

20. American General incorporates paragraphs numbered 1 through 19 as if fully set
forth herein.

21. All conditions precedent necessary for American General to recover under the
Agency Agreements have occurred.

22.  Defendants' failure to repay American General for the unearned commissions
received by them on the Sasoni Policies and those unearned commissions paid to Wechsler for
which they have assumed. responsibility constitutes a breach of contract, Defendants' breach of
contract has caused American General injury in an amount of at least $1,093,008.00,

COUNT TWO — (ALTERNATIVE) DECLARATORY RELIEF

23, American General incorporates paragraphs numbered 1 through 19 as if fully
set forth herein.
24, In the alternative, American General is entitled to a judicial declaration stating

that (1) Defendants are liable under the Agency Agreements to repay all commissions paid to
Defendants on the Sasoni Policies and (2) Defendants are liable under the Agency Agreements to
repay all commissions paid to Wechsler on the Sasoni Policies.
PRAYER
' For the foregoing reasons, American General respectfully requests that the Court:

(a) enter judgment entitling American General to repay all unearned commissions
it paid to Bechtel, LBP and Wechsler arising out of the sale of the Sasoni Policies, prejudgment
and post-judgment interest, attorneys’ foes and costs of court; and

(b) grant such other and further relief to which American General may be entitled.

Respectfully submitted this 6" day of May, 2016.
RAPER PRMURIIT ALIEIGOED od OREO ER

Respectfully submitted,

/s/ David P. Donahue
David P, Donahue
(Admitted pro hac vice)

Attorney for Plaintiff American General Life
- Insurance Company

OF COUNSEL:

BRESSLER, AMERY & ROSS, P.C.
2001 Park Place, Suite 1500
Birmingham, AL 35203

Tel: 205.719.0400.

Fax: 205.719.0500

Email: ddonahue@bressler.com

CERTIFICATE OF SERVICE

I hereby certify that on this 6" day of May, 2016, the foregoing document was
electronically mailed and/or filed using the CM/ECF system and/or by U.S. mail, postage
prepaid and properly addressed, to all counsel of record as follows:

Richard C. Millian, Esq.

The Millian Law Group
13513 Prestige Place, Suite 101
Tampa, FL 33635 —

Email: rick@millianlaw.com

/s/ David P. Donahue
OF COUNSEL

. Case S d.pcv OO AEA P Document.127-1 Filed.Q5/02/17 Page 8 of 26 PagelD 1469
ase €:15-cv- 2 ocument 71-1 Filed 05/06/16 P 31 of 11 PagelD 957

Ho 8388 P. § rene

ibid 6s ABP ife Equity Grove 4
REIT cee bi ABP Life Brokerage Equit prorpses Fs Sg
HOGGIS O04 .

AR Amationn Lite insurance Company, Sprioghald 1. GENERAL

American Genera] Auuuity lnguranes Company, Amerills, TA” BINANCIAL GROUP
Seneaneat Gen ert Lie kavurancs Company, Mougton, TX Amerie Conwred Hamat Crm

j as Life Ingurenee mepany of Ametica, Nilwankas, WI is shararloamg sume tse evar

PYRE n ae hint ets

Sach lyfe tnsuraner company’s products are separately waderiwritien and Independent
- supported by thx Pepresentative ronipany, The above-listed companies ora menibers of the American

General Financial Greap.

American General Finaneidl Croup is the marketing name for American General Garporetion
andl tts subsidiaries, Amiarican General Gerporerion ls not responsilite Jar finencial obligations of
exe corporations.

FOR

Last Name _ Bech lel . Pirst Name ov. iy\ Middln Inte) th

If Repreamitatvs ‘ts o Corporatlon, the fu Corporate mame must spposr abows, and eh authorized offear
auist tig dtd indinzas the effiver's Gils.

bodividuad
Bodin Secuiy Number

Fer Saatiiwation Rumyber 6 5 ~ 0942017

' Rapreseumtive

: of Shgautury Me tine . VP

Priacy Campany

The Old Line Lilo Insurance Company of Amarion, inc. f

Conthnct Dats wi" ay-O3 /¥ Helle
To be anggpletad by Home Office Home Office Authorbesd Signasor

* This Apeny Agrrement may not be ued to contest bagiky, credit untons or thrifts to American General
Annuity Insarmes Cocopany aod, Seubmited for that porpods, ovill wot be xenopied, This Agency are.
vont Thuy not be sand to replace an bs fores American Geoorel Acuity Inseranve Qoepauy Ageary
Contract aod, if pubenitted far thet purpose, wil ant be nevepiod,

PATS AY
ine 9H 9-2 0Du

| tinandywad Thea

y
,

AGL/BECHTEL 000001
Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 9 of 26 PagelD 1470
Case 8:15-cv-00192-AE" _ Document 71-1 Filed 05/06/16 P 22 of 11 PagelD 958

ints) et

We

“TABLE OF CONTENTS

Paragraph
Recitals
Definitions

i, Authorized Acts

tl. limitation of Authority
ii, Advertising

IV. Relationship

V. Compensation

Vi. Vesting

Vil. General Provisions
Vill. Termination

IX Amendment

x Personal Guarantee
Xi. Effective Date

Xt, —_srivestigation Notice
Xl, Federal Crime Control Act

Schedules
A, Cammission Schedule — Primary Company
B. Appointment Application

AGL/BECHTEL 000002
LC 715-cv- .
Case 8 S.ov NOLS AE”

WaoIh itene

Document 127-1 Filed 05/02/
Document 71-1 Filed OnOaLe. pg

e
3 of 11 Pagel

10 of 26 PagelD 1471

959

oornonrenenmer tren Ye
General Corpor kuin thrat-bs-identh hethed y-tht @—veemmnens yy

AUGOTT HORET8
‘RECITALS

Representative (*REPIESENTATIVE’) has executed an
Appolniment Application requesting appointments

with one or more life Incutanes subsidiaries of
Avmerican General Corporation.

The Appointmart Application designates one of the ite
jngurers ag 2 Primury Appointing Company {the
“Primary Company"),

‘This Agreement together with. the Appointment
Application and Commission Schedules for gach
seporats Life Insurer (hat appoinis REPRESENTATIVE
camprise the REPRESENTATIVE'S contrast with each
af the insurers that appoints REPRESENTATIVE.

Execution of this Agreomont by the Primary Company
pnd ihe REPRESENTATIVE evidences their agreement
to transact business In accurdance with the terme and
conditlens eet forth in this Agreoment.

If REPRESENTATIVE requested appointment swith anes
or more efiitiates of the Primary Company in the
Appalntment 4 lication, or a subsequent amendmertt
to thet form, REPRESENTATIVE’s axecution of this
Agreament ovidances REPRESENTATIVE's agreement
to ransact business with each alfiiated Insurer in
accordates with the terms ond conditions sot forth in
this Agracment. Bach alfiated insurar that appalnts
REPRESENTATIVE and sents 1 company commission
scheduie 10 REPRESENTATIVE hns agreed to transact
business with REPRESENTATIVE ancording to the
terms and conditions of this agreement.

DEFINITIONS

A. Primary Company ~ the Primary Company is
designated in the Appointment A plication as the
Primary Company, The Primary empanys respon
sthilitids Include axeculing the REPNESENTATI
Agreement, performing background checks und
providing canvantion credits and other seles
inoorvtives, {f any, to REPRESENTATIVE, |

B. Affiliated Cumpany the Affiliated Companyties) is
inaurence subsidiary of American

Appolitmnant Applicatian, appoints REPRESENTA-
TIVE and provides 4. company commission schoo
ule as evidence of Ms agreement 1o transaGl pust-
nex with REPRESENTATIVE according to the
terme of this Agredment, .

¢, Insurer the term Insarer as used in this Agree~
mantrolers Wo each ofthe Hfe insurance som anes
that sppotrts REPRESENTATIVE, indluding the
Primary Company, .

D. Jurtediction « Eligibility tex or receipt of, override
somspensalion on anclner Representulive’s business,

}, AUTHORIZED ACTS

A. The REPRESENTATIVE fs suthorized to conduct
ingurer's business for the hisurar's products
covering such daxses of risks as the Insurer muy
authorize and in those sisies where the product ts
approved and. REPRESENTATIVE is licensed and
appotnied as required by ainte law. if REPHESEN-
Th TIVE is # corporation, then the principal(s) of
such torporalign must also be Heengad individually,
required pursuant to upproptiats state Jew,

B, ‘The REPRESENTATIVE Ig authorized to ooviect and
promptly remit. to the Inswrer the first premium on
usiness produced by the REPRESENTATIVE In
accordance with tha Insurer's reles and regula-
tons.

C, Ths REPRESENTATIVE will promplly deliver issued
policles in accordance with insurer's policies and
procedures, :

D. All monies, settlements, or documents reontved by
the REPRESENTATIVE for, or on behalf of, the
insurot shat! he received by the REPRESENTATIVE
in a fiduelary copacity and immediately paid over
or delivered to the Inmurat, excaplasmay be -
otherwise diractad in writing hy ihe Msurer,

TL. LIMITATION OF AUTHORITY

‘The REPRESENTATIVE ts without authority vo perform
any ant or thing other thin that expressly franted in
thip agresment and expressly agrees nol to perform
any of the Followlng acts:

1.Make, modify, alter or discharge any polloy.

2.Ravend the time payment of any premium,

8, Waive any forfeiture.
4,Gunrantes dividends or Interest rates.

§Jncur any debt or Bability iy the name of the Insurer,
&.Withhald, commingle or convert to the use: of the
REPRESENTATIVE of the benefit of atlers, any
monies, securities, polities or recolpta belarging 16 the
Insurer, the applicant, or the Insured, or fa¥) to
promptly anbmit to the Insurer any applications For
policies.

7 Accept or deposit any check or draft fox premiuns
made payable to other then the insurer

8.Uniess in tho best financial interest of the
polieyawner, directly or indirectly Induce or attarnpt to
Jnduce any polleyowners of Inaurer to relinguish,
surrender, replace ox Inpan their policins.

1. ADVERTISING / USE OF LOGO
HESENTATIVE niayr ac HEPRESENTATIV Es

expense, advertise Insurer's preducts, provided the
text of sil advertising, including any form of sales/
promotional ynatatinl such as, but not Wenited tos

usinnss dards, stationery er other indications of
agency wider this epreement and including tha use of
the nore “Aroarieah General,” tho American Genera]
logo or the name of any insurer is approved in writing
hy the company belore use.

W, RELATIONSHIP

‘The relationship heween the Insurer and the HEPRE-
SENTATIVE shall be that of principal and independent
contractor, and nothing contained berain shell bo
construed as creating the relationship of enmployer andl
employer for any purpose, including wx Purposes.
REPRESENTATIVE agrees to be responsible for all
{LEEE USE sol employe independent contractor, The
REPRESENTATIVE shall be free to exercise indepun-
dent judgment as to the ime and manner in which the
REPRESENTATIVE shall perfarm tha services axtho-
rized under this agreement. Any ranterial supplied by
the Insurer Is for the purpose of supporting the
activiles of the REPRESENTATIVE,

AGL /BECHTEL 000003
Case 8: SO BOLSay P Gocument 127-1 Filed 05/02/17 Page 11 of 26 PagelD 1472

‘sab embhiiaints

Nin ik Mi

ocument 71-1 Filed 05/06/16 P 34of11 PageiD 960

v.
As

C

8

BOGOT? 802677

COMPENSATION

Subject to the provisions hereof and the roles of the HL. Excopt whore prohibited by any Site. the ROEFHE-
Insurer, the full compensation of the REPRESENTA SENTATIVE 4s responsible for J) Ucnse foes,

TTVE. shisll be payee a at.dhe applicable rate set including those of its Repreventzetlvas. The Insurer's
farts in the Schedule of Commission in effect at the discretion shall govern with respesi to whether the
date the first full premium is recalved by dhe jnsurer shall chergeto the REPRESENTATTVE’s =~
Insurer, which Schedule af Commission and ail commission or other compensation tenourt the cast
nmendmenis, supplements and replacements of ahitzining and renewing the REPRESEN TATIVE's
thereof and thereto are berchy made o part of thie und its Representatives’ Heense or licenses and/or
agreeme|nt,

, Cammisslon |s subject to change al any tins py
hy the Ingurar 10 the REPRESE \

TIVE, but ne such change shall affect commissions ang commissions paid by the Tnavrer

on any. polloy lssued prior te the affective data of

written pouee

OF an Ee Vi. VESTING
I commission rains are wot now shawn in the A. As long ag this agreament remains in effect, all fret
Schedule of Gommission, including conversions, yeur and rantwal commissions shall be paid us
. Peplacaments of the exardise of reentry provisions they poorie: however, any such paynitnia are
“on, if apactal premium rats quotations are made, subject to thoschadule of commissions in. effect st
commission retes shall be such as may be Axed by the dute tho first full premfinn Se received by the
the Ingurer as of the (ime when issue fs effective in insurer, the provisions and rudes of the Insurer
aecordance wiih sates and practices of the Insurer regarding minimum first-year and renewal commis-

then in effect.

fons as applied to such refunded or

wimg, and shall repay any amounts advance. An
ineurer muy include in its Cartmission Schedule,
which is incorporated as a pari of this aprosen ent,
guidelines describing more § eclfically ¢

Eiances unter which ft will charge baek comsmnis-

shons on cortain products, In the absence of such ponse, costs, causes of actiox), and dhmapes including
guidolines, the insurers rights shall be a5 de- without Umiteton, reasonatode attornay fees, resulang
scribed fn this Seaton V, Compensation. stam or growing out of any Tanauneriaed oh ee gant

; . er eo >
In the avent any policy on which the REPRESENTA- act of commissign or ombsst en ©

TT Vieis oniltled to commissions shall be converted
or replaced, any commissions on the new policy
shall he subject wo adjustment and payable only at

ihe gole discretion of the insuray

appalnunent fees. This practice jy subject to change
‘alihe diserotion of the Ineures

TA- 1. Polley anpllcuiions for any Insurer wil be Issued

4

sions required io lesa a check.

D. in the event any polley on which the REPRESENTA. 4B. During any consseutive L2amonth period following
“ =TiVE is enititted to commissions shal) lapse because ihe termination of this agreexnent, lotal renewal
of nonpayment of premium and shall bo replaced commissions are less than the minimum ramiiired
or yelnatnied, any commissions an the new ar. . by the Insurer; vesting autor atcally lerrninatos
reinstated policy shall be payable only ot the sole and ne addidunn) carmmnission: payments. will be

_ digeratian of the Insurer due from the Insurer,

E. ‘To be entitled to commissions, if any, tho C, In the event this agreement is terminared by the
FEPRESENTATIVE's ume or the name of another douth of the REPRESENTATIVE, all first year ond
Representative under your durisdiction must rangwel commissions shall be pald as they accrue,
appear £5 soliciting agent on the appiloatlon for subject only to the terms ancl sonitions of pars-
theurante. Distuies resputiing cammissians shall graphs A and8 immediately above. in the absence
be subject lo decision and: selfernent by the of a proporly executed hanefticiery designation on
insurer and the Insurers dacision mhalt be finel Hie with the Insurer, all such payments, §f any, shall
and binding upon the partis invatved. ba mae to the sirviving epovust and at ihe death

: of the SES pute to thre estate of sald spouse,

F, Whonever, Jn the Judgment of the Insurer. il shall if the REPRESENTATIVE dies lesving no surviving
become advisable to recall any police issued lrafors sponse, such monies will bo paid wihe estate of
delivery thereo! ig made, the REPRESENTATIVE ihe REPRESENTATIVE: prowaded however, that If
“sirmitpremply-refundto.thelns . ycoramige —_i REPRESENTATIVE fp a. corpordion ora
sone received on account of sich polley. Whenever, armurghiprell-sioh-paymesis will he pais te said \
ar calvary, the Insuror shall ech or procure corporation or partershin. : ‘nein

a surrender, rescission or canaellation of any ven arers A ee

nS gy anid refund premiums putt thereon, the Vi, GENERAL PROVISIONS

nse a ae nt REPRE owe A, Tho Insurer may make such changes and decisions
rer iy such commissions to the insurer, Ifthe as It daams advisable In the conduct of its business.
Irene shell refund or walve the pro mivm or inchiding the discontinuance at any poliey farm: ar
remiuins under the provisions of any disability the withdrawal fram any texsitchy, ene the Insurer
Walver of premium vider, the REPRESENTATIVE: shall Inour no Habfilty to the. REPRESENTATIVE by
shall {ose all rights to commigslon and. porsistonty reuson of iis dolng so.

vwaived promi. B. The Insurer shall have the x‘ighl 0 tast market any
of its products on a select basis and at the Glecre-
thom of the jnsuren

6 obroun- C. The REPRESENTATIVE shall. indemnify and hold the
insurer harmless against or ‘from any and all ex~

TIVE or Its employees, dlracrtiors, oflcers, or Rapre-
sentatives under fis jurisdiction. ‘this provision shall
survive termination of this a.greement,

AGL /BECHTEL 000004
TT SgetBder*/°

- CRRSELCSPRLLBARE BOMMRGAAALE FMELORRHL” oP 908 UF. 28g

omer weerreen, {ipaletlaany
LAS bh aD
v4 6 75006 Hy
- DOODT7 02678
’p, The Insurer shall have a prior right and affeat to all in each REPRESENTATTVE's Miles thet relnte to the
commisstons and fees paynlile herolunder toward qnarkeling, avempied sale or sale ofthe Imeurcer's
aity indebtedness and/or other obligations due products, If the ingurer chooses iy Ingpact such
from fe REPRESENTATIVE or anyone. under the records, i-will ondenvor to do # during normal
Jurisdiction of dhe REPRESENTATIVES to any business hours and after ving resstnable notles,
EOE et andfor Afiared Company/ies unless, in the judgment of fla Insurer, wnusedl
with faterest h

a lege rate, This prior right and cirpumstences require inspection et olher tirses or

ofiset shail nol he extinguished by thre termination inspection without prior noilue. ‘This provision shall
of this agreement, Following the termination of any survive termination of this agraunenl [or a period
Representative under the Jirisdicdon of the = ~ of two (2) years, —
REPRESENTATIVE, showld the amount in any oo ,
commission account of that Represemiative be Le For ag long us this agreement isin Foren, ‘the
insuMoiant.to spay any amount due the Insurar, REPRESENTATIVE Will maintaly Errors amd
the debit will hocame the responsibEiny of the Omissions (B&G) coverage and will provide: tho
REPRESENTATIVE, in accordance with the Insurer annwally proof of such BRO coverage In
insurer's than citron! debit collection procedurs, “a manner acceptable to the Ynkures
£. Nulther the ngrasmont, any dudes or delegation M. ifthe REPRESENTATIVE Is served with a regula-
under ite agreement, wor the commissions ar fees jory Inquiry or legal papers Involving insurer
aceruing hertandes, nor any interesit herein, nor business, the REPRESENTATIVE shall immnadiately
any right or claim. crated. heraby or arising by notify the Insurer hy sending to that Insurer's
ranson of the REPRESENTATIVE acting hereunder, Compllance Officer 6 copy © Oe sorved by
atontt be assigeable, excapt upon the written overt nt delivers, PY Yas ot business day
consent of the insurer. : ML FRG
Fork ralure of she 1 to insist the REPRES NTATIVE,
* Forberrance or inhure of dhe Insurer to insist upon . +
performance af this aprasinent or to erfurce tse N. The REPRESENTATIVE ts raspansible for assuring
Faints hersunder; shall not consiliie 2 walvor of lis that any Representative under tieudediction of
rights or privileges hereunder or of its subsequent ihe REPRESENTATIVE: (1) bavome fully informed
right to Insist upon such performance, ag tothe provisions and benefits fench product
: . offarad by the Insurer for whieh the Repreagntative
G. Thig agreement, Including the Appoiniment conducts Insurer business; (2) represent such
Applleation and any Cominisstan Sebedulaln) products adequately and jairly to prospective
incorporated as pert of thie Agreement, contains all prehasers: end (3) act. in compliance with the
prom ses, Inducaments and representations nsurar's polioies ard procedures ts £et opt in the
otween the parties, This ayrenmam supersedes Customer Service and Com fiancs Manual, Opera-
any and all previous agreements betwean the thong Manual, or otherwise communicated to the
artiog herein perlatning 1a the solicitation of the REPRESENTATIVE, including, without limitation,
nsurer’s producis ond the paymorst of monips 16 those regarding sultabiliy 0 sole inquilries aad
the REPRESENTATIVE provided, however, Wiat compliance with the Inauror’s pinclplas and code
rights or obligations which have niveady accrped ofpthions market conduct, «

land would survive termination) under any previe
ous contrac between the Insurer and the HEPRE- 0. When the Insurer assigns to the REPRESENTATIVE

SENTATIVE shall not be hereby Inypnired. any agenoy not recruited by the REPRESENTATIVE,
, : than the Ingurer may reassign ietagangy to

+h _wthe, Ingurer reper the right 16 decline or madily another upline of the Insurat’s theise at any ime

any application for ReUPANCE andonbhout the naces ity of a release from the
' katt mnt fet REPRESENTATIVE. if the Inoue wishes torr omoves—p———

1. This agreement. shall not he affociive wnt! excauted any agency recruited by the REPRESENTATIVE
by the Primary Company, Once this agrcoment isef- from the jurisdiction of the REPRESENTATIVE, the
Jeetive with the Primary Compuny, I.may become \ngurer will negotiate a relesse: however, such
effective wilh Allliated Companyties) as described release will not he unreasonably withheld by the
harain, REPRESENTATIVE.

J. Should the REPRESENTATIVE, at any ‘ima, violate Pp TEPRESENTATIVE is not aniifed to participate in

my provision of Sectian 1 of this agreement, any REPRESENTATIVE, benef pograms except

enltiied Limitation of Authority, or commit any those which are provided by the Frimary Company.
fraud upon ineurer or its polloyholdera; have o REPRESENTATIVE is mot eligible to participate fn,
Hewnse ag agent or broker revoked for cause after

or to recelve any benefits from, wy programms
notte and hearing by a state inswrance deparimant provided by the Aliiate Corapuiy/ies,

or otherwise act io projudice narerially the Inter

ents of Insurer, ue REPRESENTATIVE shall, ai-the Q. Disputes arising under thie Agreement. girall be
sption of the Insurer, forfeit any and all rights to all subjact to the laws of tha State where the issurar
sor and monies thin ine REPRESENT ongaged in the dispute is joopted,

TIVE roieht otherwise have undor this agreoment,

TE ET ee pxpresely agreed i agrecrmen', rhe area within which the REPRESENTATIVE shall

ont slanlt 0k +t have the right to rapresant the Insurer ts sat
oo shal not termalnate this ave acd evausively to tho REPAESENTATIVE,
¥. ‘The REPRESENTATIVE agrees to muintain sonmplete 5. REPRESENTATIVE agraes to conform te all repgula~
nnd accurate records of the marketing and sale of ions of the Insurance Department and the inur
the Insurer's products, The Insurer reserves tho ance Jawe in the state(s) in which the REPRESEN-
Hight to Inspect euch records and other documents TATIVE in sunducting instrer’s business. |

AGL/BECHTEL 000005
» CURE ETE NE Beoument 71 Filed Oorde/ie / PP ADE dru! eagehs Yb2'4/4

UREN Wes ad
 BOGOE7 $2679

VIN, TERIMINATION XH. INVESTIGATION NOTICE
A, This agreement shall ailomatically termingie upon The undersigned heraby authorizes the Primary ant
_ the daath of REPRESENTATIVE If REPHESENTA- Affitatod Campany/les to ‘candaet an invesiigation
TIVE is an Individuad or upon dissolution of concerning thoracter, credit reputation and personal
REPRESENTATIVE if REPRESENTATIVE is 8 traits and releases those contacted and the Ingarer

corporation of 8 partnerahip.

gram any lishility with respect to the content of the

. information provided and any resulting actlom by the
B. This agreament shail terminate npon the revocation Anauy hes ‘sd
of nonerenewal of the REPHESENTATIVE's license. a Tt ine g the sharing eet eet °F

C. ‘This agreement may be cerminmed with or without . ote
cause fy any tourer ule ra Grovisions D und E MHL FEDERAL CRIME CONTROL ACT

helow) or the REPRESENTATIVE by sending ndarsien '

writen Totlce of such termination to the last A.Undarsigned vesrvamts Hi

ynown address of tho other party. . 1 has not besa convicted of any oriminel felony

D, Upon termination, the REPRESENTATIVE shall awvolving dishonesty or brench af tris SF
homediately pay in eash to the insurer ail sums 2. has obtained written authorization to engage in
that are due ar become due hereunder and shall the husinoss of insurance from the Inswrance
Immediately deliver to. the Insurer all minorinls Department in the state where REPRESENTATIVE
connected with the business of the insurer 2nd resides which REPRESENTATIVE agrags 16 produce

belonging to the insures Such materials inclede, ypon Jnsurer request,
bur are not limited to, reve ards, letters, records,
computer software, goneral suppliag or any and all B, Tho REPRESENTATIVE agreas to upinte ihe
pther Indicdtions of agency provided by the Inguret. representations in the Conlidantia History /Back-
itis expressly agreed) bat termination of this ground information Sagtion of Part 4 of the Ap-
agrogmonl does not release the REPRESENTATIVE + polnimant Appiication by noulying tho Primary
from coniinulng Bablity to the Insurer for imimedi« Company in writing within thirty 20) days, if thera
ats repayment of any and all anonrnad rst year should be 6 change In the response ieany question
commissions or bonuses. in the Information Section of Part 4 ofthe Appoint
. ment Applicaton. .

E, Termination of cts ngroomant by the Primery

Compory terminates al! contracts with Affiated

Companyfies wichout specibc notiee to the REPRE-

SENTATIVE aquired by the Insurer. Hawever ony

AiMisied Company may terminate jis agency

rolationslp with the REPIESENTATIVE, which wil

not, of iisell, terminate the Primary Compnny .

agency relallonsbtp, Dpon terminntion, Abe Insurer

may assign 2 sorvicing agency; however, stich

assignment will fot & jiself aifect the vesting of

existing business.

P. Terminatian af this agreement automatically
vmnndierates any previous agreomen Yo Kapreserit
the Tourer that wormin ate hoAgneemont

1%, AMENDMENT

This contract cannat be changad by erty oral promise
or slalement and no written modification will bind the

Insurer unless approved Dy the President of the
Insurer making the modification.

x, PERSONAL GUARANTEE

Bath and every individual who signs this ngre emmant
warrants that thay have authority to bind the entity on
whose behalf they are signing.

XJ, EFFECTIVE DATE
The agreed alfective finte will bo the date that this

agreemant to represent is sh ned and acknewludged
by the Primary Company 85 eramnaiter spasified,

AGL OSEO UD

AGL/BECHTEL 000006
:C .B5CVv- =
aes SSCS Patient lat ga OSeAe ’ pPA9F df9! eagehsGes!4/>

} adel) At ye wow t . :
woe ome ie SQ0MLceLife Brokerage Equity Grovs—-  ——— Ho GO14  B. ee
rr" 7 yaa) i HR TCAN  fessignmernrt of Agent eee OL,
| GENERAL

American General Lite Insurance Company (AGLI
‘The Did Line Life lremuranes Corpany {QLL)
” Wiymilaere ot Amick jrvernationsl Group, tite

For volun received. Kevin Bechtel gn agen under the AGFE Agency Agreerrrernt.(or lis |
successor es defined bythe cormpuny! wah iiie priraary sonipany anmedin the CONSENT TO ASSIGNIVIENT below
(rAmmeciouneGunerabLite” | YO idling Like *}and hersinatior called Agsignep assigns Aanlgnors Agert Conrad,
recamren"} for INSURER Annui Fz mney. formerly known ag Armerian Bengal dannitty:
Insuranos Compeny, in te enilrety te fee us tip Herélnetter collet: Asstopon, This
agsignment removes from Assiggar ay ard pitripmererivileges, ditters-p dobhipstions anderthe-Go ntact and
ploces Yer with Aasignes.ss if the Controct had been originally exeornedd by Assignen, It Jecmpiessly tinderstoud
arnong the partion tc ghis Assignment that Armarican Generel Lite | Cid Lite Une reserves shedght te ofisal any

Indebrodenes now OF in the future owed Wo 1 bey Ausignee. spalnsl amounts payable i Aassigent andur the Primary
Contract. ,

Assignas, wader the eemins of this Asaignment, nos rerelved tull power and authority, for Assignen’s wn benefit
ang oenduct of business. Bl rights, privileges, dudes and abligadens ss full ari Assignee word thy original pucry

to the Contents provided} however, thal ne transtor of Assipnen’s rigits hereunder whether velunary, jvalvelary,

or pyoperation af law aeons blading pon Armoalen Genersl L¥eiCid Lipa lie aunt sorual whitey netic of such.
yrangier nas hoon renelved by ft.

Executed this A eet doy of ci ep UAL .
Redynay / . Werner *
—— “FagiRa MI me tm

Agslgnes hes received the aesigament of the ‘Agent Conteact *Cantra.ct™) geecuted butwoen Asnigrior pnd the
- Pylmary Carmpany in the CONSENT TO ASSIGNMENT pelow (“Armesians General Life” (“Old Wire Life") in
exnbange fer the AGLs fOLLn consent ta tis ansigamont

Assigned Is the holder pf ali tights, priiiages, duties, aad obligstions under ihe Contract. All conimlestons poyable

sinder the “A SETTANT tar thre-efimalye-coye.of this, - est shall be prid to Assignat and VAIL be reporned
OU 20 :

unger Tex Hentificasdn Nurrsber ld seam Lar FRUTSUSNL IG Reg Se lanracttonss
cate op day of February,
pli. eis Eguininay figs

. 1
Amertoan General LitwOld Lkne Life hareby contents to the
and conditfons-sbove, staterd OF faterced to,

Executed this Dif ee day of PEBEM to Se ZOOS

ihAMERIGAN GENERAL LIFE (INSURANCE COMPANY

joregaing sesignment, subject %0 theternas, provisions,

fouD LINE LIFE INSURANCE COMPANY

Jotaaue:

Home “rie
AGLSVORES mem

Reeelyed Tine Fab 24 3° CSPR

AGL/BECHTEL 000007
CEE NGARE. BSNL?

_ iaenieiamanntl, 5 etynni iin,

RTE

Document 71-1 Filed

v Bffective Dewomber 2002
SCHEDULE OF COMMISSIONS

Old Line Life |
First-Year Buse Commissions™ (Schediutie A)
ETT LETT
LG ulreBe Level fern 700.09
LPG Uluar20 (a) Levellers 100,80
AG Ulraf 512) tevel ¥en 50.00
tg ures (2) LevalTene 70.00
1G tihira-C730 tevel Term 700,00
fate G20 Lavelle. 7o0.00
UG Uhro-15. Aayel Torn 90,00
TG UiaCli0 Levellern 70.00
ROP Tera 30 bevel Tern 90.00
ROP Tera 20 Level Term 90.00
ROP teem 15 Level Term 90.00
AGClastle+ UL 80,00
Linhrersal Elite Fus We 90.00
AG Pime Sunivo + QndlOle UL 75.00

led 05/02/17 Pag

15 of 26 PagelD 1476

e
OS5/06/16 P 28 0f11 PageiD 964

a AMERICAN
CUINURAL
AIG Life Brokerage

Dielribullagnreducsbsuel oy

The O14 Line Ufelosurance Compnypotamerics,
Asnettean General Life Insurance Company and
AIG Annty |nturanea Company.

This schudule of sors
"Chis schodule 1s subjew

{2} Toble ratings are fully commissionabla,

lesions is a supplemant to the Agancy Agracmont and hig forme and conditlo ns.
ito change alany fime hy written nollee,

(By No Gre-yous; tanowal or ‘vonus pitd on polley foo.

9002. Arorsirec tnteranthanal Gray [ns

Flat oxtra charges of loss than 10 years are non-commissianebl 5.

ABERDIOSA- INT

AGL /BECHTEL 000008
115-Cv- t127-1 EF
Case 8: LogV 00 Toa SRE: Documen -

led 05/02/17 Pag

| 16.0f 26 PagelD 1477
Document 71-1 Filed 05/06/16 P 965

e
-cv-001 9 of 11 Pagel

TU

TOP
WD

Effective December 2002 Ni e AMERICAN
3 e (sENERAL
SCHEDULE OF COMMISSIONS : :
: AlG Life Brokerage
. ! a ¥ y + [ “ ; i a , .
American General Life (Schedule A) Puen mbaTaaestosvedae ate,
First-Year Base Commissions) dana oes Li Insuranes Companyand ANG
OR ete ee res
Ehre Universal tite UL, a5
" EliteG Unbersal tite ‘UL as
Elite Survivor & 2ndidle UL 3
Eire Survivor feomlng 1703) andidie UL 75
_fiitinum incomeAnnuiy — SBLA
Pee Ue Mei eee d

Fighnum Provider Ultra UL 70
Platiqun Erovider Uta G ML 70
Aigtiaum Accumelaror(?} UL 60
Fiatauen Survive: Lira t(D) 2nd/Din WL &5
Flatlainn Sunivartiia G13) IndiBie UL &5
Platnum Provider Utes $00 BAU 7
Platinum aAccomator 500) — EILL 60
Platinors Survive: Obra SO0{3)  2adiTie EU, &5

This schedule of commissions is a Supplement to the Ayancy Agranment and Is torme and conditions.
This schedule Ja eulijoo! to change at any time hy written notice,

() AGL pays no commission un nyladion ext promlums or any tempore: axis premiums of saven yonrs duration ox lugs,
For ‘dnlo ratings above Table 6 first your cammisilons arp bald vn the basis of Tutile & nenmnlvmay huss

1%) Matavm Accumulator and Accumulator 500 UL carnmissions reduced by 1% for onth year of issye aye boyd 65.
{A} With ono uninzyrabls Hie commissions foc Platinum Survivor ond. Pathvum Survivar 500 will roduea,

HAAG Ameriers buuecatonnl Group, tec. AASASWNS-1107

AGL/BECHTEL 000009

Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 P C
a age 17
Case 8:15-cv-00192-AEF Document 71-1 Filed 05/06/16 Pr y 10 of TL Pagels 968

: “7 meee ad her Newt vd
-hencriesamaoinry 9 Dy ends
A421 6 09P
4 SUH Hie
+ Sffeotive December 2002, AMERICAN
_ SCHEDULE OF COMMISSIONS . GENERAL
. AIG Lie Brokerage
Gid Lime Life . , Dleirdbutinyy products isaned bin
Renewals and Excess Over Target ‘The Gid no fe insurence Coen pend
(Schedule DB) Ad Anmiity Insurance Carapony,

BORE Pe Lec
ALEC Ulva (D2) tovel Term 9,00 -
AUIS CHueC (2) Level Term and *
ROP Teer 30 Level Torm 1,06 *
ROP Terre 20 Level Tern 1.00 *
ROP Farin 5 Level Tatm 1,00 .
AG Classiey ul 1.50 15D
tinivacsal Elite Phir ul 1,59 3.00
AG Pidme Sunvivot + ‘ 2d/Dle UL 4.50 3,50

This eehedulo of commissions ts a supplomont to the Agency Agreement and. its terms and curdidons,
"This schedule is sublack to chango at any the hy writton notlen,

1) No Mretyoor bago, renewal or bonus pald on policy fen.
{3} Renuwale avin Excess dans not apply. Roney

O7002 Arserkean International. Group, tte, ROLLOZOR A

AGL/BECHTEL 000010
Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 P
age 18 of 26 PagelD 1479
Case 8'15-cv-00192-AEF Document 71-1 Filed 05/06/16 Pr 41 of 11 PagelD 967

Tie oe
st Be

, Effective December 2002

SCHEDULE OF COMMISSIONS
American General Life (Schedule D)
Excess over Target

and Renewaisl

pee rersrs ber

peasy OSU ag

fire Ut 4.00 1,00
flteG ML 1.00 1.60
Site Sepiver & 2ndOle i. 4.00 1.00
Elta Survivar teaming $N2)___andible Ut 1.00 1,00
. Platinum Provider tlre vu 1.00 4.00
Platinum Provider Ulva G pre 1.00 4.00
Platinum Accunilatar YL 1.00 4,00
Plathnan Survieor Uitea 2ndiDie Ut 100 1.00
Flailavin Sunvieoe Ulin G 2ed/Ole tl 1,40 1.60
Hatnum Provider tia h) — EIUL 1.40 1,40
Platinum Accumulator 500 S10 10 L080.
Platinem suivior Uiterso0 —— 2udiDle EIUL 1.00 4,60

EG; . GENERAL

AG Life Brokerage

_ Distelbutlag products asad by: ‘

Thy OM Unc Lie insuranes Company af Ameren,
dmnorenn General Ufo Insuranch Gampenyend
AIG Annully Insurance Company

This schedule af commissions is a supplement to the Agency Ag
This schodula is subjoct to change a any the by writton notion,

service fees haginning In yanr 11.

@) AOL rays no commission on
. oO

For table ralings above Ts,

HL0GZ Armeriten Lavernabonsl Graypedne,

rourant and its terms end conditions,
Unless otherwise noted, renawals nee yoare 2616 whth

qviation oxi gromlums or any lomporary oxtea promitims of Sevan yours duration or iess,
F

G, Nest year sorameslons are pald on the busls af “Table 6 premiums,

ASLTTOR ARTA

AGL/BECHTEL 000074
Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 19 of 26 PagelD 1480
Case 8.15-cv-00192-AF Document 71-2 Filed 05/06/16 F te 1 of 8 PagelD 968

PTLD WA Uti Uh

Bach iife Insurance comphuiy's products ore seperately nnderwrliten and idenendontiy supported by the
' seprasentative company. The below listed companies ore members of the American International Group, dite.

Life Boverag aiings LUC.
LastName Laecyie | Firet Name Yoevtryn Middl ttt H.

If Represontative {s a Corporation, the full Corporate name musi appear above, and an authorized offleer must
Sign and Indionte the officer's tila. ‘

et ate REDACTED —

C ti
Tax iduntiiea ton Number ay: RAL 4 COOH

SETSSee 4T:9T Lenz /ezvre

Reprosontallve

Sinatura Kho , Tide (UD net In

LSZ

Arnerlzan General Life Companies

Contract Dale
Tobe completed.by Home Office . . Home Ofice.Authorlent Signator. .. --~ tome
!
Amortean Conaral Life insurance Company, Howston, TX
ACADNS 105 A division ofthe Amertean Inernadnnal Companies.
| AMERICAN
WE KNOW LIFE.’ ee, Ginear.
AG Life Brokerage

AGL/BECHTEL 000057

Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 20 of 26 PagelD 1481
Case 8:15-cv-00192-AF ~ Document 71-2 Filed 05/06/16 F \e 2 of 8 PagelD 969

TABLE OF CONTENTS

Paragraph
Recitals
Definitions

\ Authorized Acts

I, Limitation of Authority
Ht, Advartising

I... Relationship

Vv. Compensation

Vi Vaeating

Vi. ‘General Provisions
VII, Termination.

IX Amendment

K Personal Guarantee
A Effective Date

XIL investigation Notice
XU. Fecleral Crinve Control Act
XV. Confidentiality

Schedules
A. Commission Schedule ~ Primary Company
B. Appolntment Application

AGL/BECHTEL 000058
Case 8:15-cv-00192-AEP. Document 127-1 Filed 05
GSse Biscv-00102-Ar~ Bocument 72 Filed Ob/0G/16. F 48% of 8 Pagelba70
RECITALS

Repmsontative (HEPRESENTATIVE’) has exooutod an Appolnimant Application requesting appolniments with
one or mere life Insurance subsidiaries of Amurican International Gropp, Inc.

ane Anpomtmont Application designates one of the Ufo insurers os o Primary Appaolating Company {the “Primary
AppAny"). ‘

This Agrooment togother with (hy Appointment Application and Comsmssion Schedules for ssch snparata tle
insurar thatappaints REPRESENTATIVE comprise the REPRESENTATIVE's contract with nck of the Insurers that
appolnts REPRESENTATIVE,

Execulion of this Agreement hy.tho Primary Company and the REPRESENTATIVE evidences thelr Agreament to
transact business in accordance swith the torms and conditions set forth In this Agrmement.

If REPRESENTATIVE requested appointment with one or more afflintos of the Primary Company in ths
Appointment Application, or 2 subsequent amendmant ts that form, REPRESENTATIVE’s execution of this
Agreomont evidences REPRESENTATIVE's Agresment to iumsact business with cach nffiliated insurer in
accordance with the terms and conditions set forth In this Agreement, Hach affiliated insurer det appoliis
REPRESENTATIVE and sands o company commission schedule to REPRESENTATIVE has ngread to Innsact
business with REPRESENTATIVE acwording to the torms and conditions of this Agrsemant.

DEFINITIONS
A, Primary Company ~ the Primary Company is designated in the Appointment Applicstion as the Primary
Company. Tho Primary Company's rasponslbilittas Include exoauting: the REPRESENTATIVE Agresment,
porforming backmround chooks aud providing convention credits nnd other sales incentives, any, to
REPREBRNTATIVE. .
B. AMated Company - tho Afffiated Company(es) Is any othar life meurance subsidiary of Amorican
International Group, Inc, thatis identified in the Appointment Application, appoints REPRESENTATIVE and

provides a company comunigsion schedule as ovidonss ofits Agreement to taneact business with
REPRESENTATIVE according to the terms of thin Agroemant.

C, Insurer — the tert: Insurer os used in this Agroemant rofors to cach of tha life Insurance sompantos that
appoints REPRESENTATIVE, including the Primary Company,

B, jurisdiction -~ Higihliity Yor, ar recalpt of, override compensition on another Represenintive’s busingss,

information callocted by or on bohelf of a purty, and porsonnlly idonflinble jnfornuction derived from NE.
Reference to NP} of Company or REPRESENTATIVE shall include NPI collected by ar on behalf of Americnn

B Proteoted Hanlth lifprmation: The terme "Protected Houlth Iwformatton” and PH)" stall have the meaning
set fordk in 45 CBR, Sec, 164.501 ns may ba amended. Other terms shall have the sam mpmings as set
forth in the applicable dofinition of the Healrh Insurance Portability and Accosalhility Act (HIPAA), a8
amended), Privacy Rule or other regelations.

1, AUTHORIZED ACTS

A-Thia REPRESENTATIVE Is authorized to conduct Insurer's business for the Insurer's products covaring such
classes of risks as the Insurar may authorize and in thosn states whore the product is approved and
REPRESENTATIVE Is licensed nnd appointed na required by state Inw, REPRESENTATIVE Isa
corporation, than tho principal{s) of ftich corporation must also bo loonsod individually, frequired prxscant

to spproprimte state law.

H, The REPH TATIVE is authorized to collect and promptly remit 10 the Insurer tha fest premium on
business produced by the REPRESENTATIVE in. accordanco with the insurer's rules and regulations,

C.The REPHESENTATIVE will promptly doliver issucd polices tn accordance with Insurar's policies and pro-
codurcs.

D.Allmonies, settlements, or documonts recolved by the REPRESENTATIVE fr or on bob aif of, the Insuror

shall bu recaived by the REPRESENTATIVE in a Sducinry eopacity and immodtataly paid over or delivarad. to
tho Insurer, oxtept as rosy be otharwiee Hracted Jn writing by the Insmray.

AGL/BECHTEL 000059
Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 22 of 26 PagelD 1483

Case 8:15-cv-00192-AF” Document 71-2 Filed 05/06/16 F ye 4 of 8 PagelD 971

I. LIMITATION OF AUTHORITY

" The REPRESENTATIVE is without authority ie perform any actor thing other than that oxprossty granted in itis

Agroomont aml oxpressly agrees aot to porlon eny of tiie Jollowing aus:

i.Muke, mindify, alter or discharge ony polloy.

2.Extend tha thee payment of my peomium.,

8, Waive any forfeiture,

4Cilaranten dividends or interost rates,

B.lnour dny dabt or lability in the name ofthe Inmiror,

6. Withheld, commingls or convert to the use oftha REPRESENTATIVE or tho benefit of others, any
monies, securities, policies or receipts helonging to the Insurer, the applicant, or the insured, or fall
lo promipfly submltto the Insurer any applications for policies,

7. Apcopt or depaslt any check or dratt for promiums mada papable to othor than the Inguros,
Unless in the best Interest of the pollayowner, directly or indimatly induce or avermpr to

induce any polinyawners of Insurer to rdllnqulah, surrender, repined or Linse their policies,

TIL. ADVERTISING / USE OF BOGO

REPRESENTATIVE may, a REPHESENTATIVE's oxponso, advartise Insurer's products, provided the text of all
advertising, inclading any Jorm of sulos*promotional material such as, but not ltaited to business anrds, statlonory
ox other {ndicatlons of agency under this Agreement and including the uso ofthe names “Arosrican International
Groun, Bie “AIG,” “Amerioun Gemoral,” thole logos or the nae of any ineurer is approved. in writing by the
dormpany beforn use. : :

FY, ‘RELATIONSHIP

‘The colatlonghip batiwoon the Insuror and the REPRESANTATIVE shall be thatofpringipal and Independant
contraction and eottdng contained herein shall be construod as crodtin g the rilutionship of ompleyer and employe
for ony purpose, including lax purpuses, REPRESENTATIVE agroou to be responsible for al} taxes as o soll-omployed
jndenandont contracion. Tha REPRESENTATIVE shall be free to exercise lnlepandent fudgmontas to the tinve acd
manner In which the REPRESENTATIVE shall porform tho services authorkzad under this Agreement, Any mntarial
supplied by the Ineuror is for die purpose af supporting the aatvities af the REPRESENTATIVE.

\C. COMPENSATION .

A. Subject to the provisions herool'and tho rales ofthe lneucen, tho full cormponsntion of thy MEPRESENTATIVE shall
bo payuble atthe applicable mite sot forth in the Schedule of Gommisslon in effect al re dato the first full pre-
montis recalved by the insuror, which Schedule of Commission and all amundmonts, supplements and roplace-
monte thergotend thovete are hereby made s-part of thls Aprosmont.

B. Commission is subject to change at nny timo by written notes by the Insurer to the REPRESENTATIVE, but no
'  suoh change shull affect cordmissions.on any polley issued prior to the affective date of auch shonge,

Gc. HW oommlssion. rates are not now shown in the Schedule of Comnnisaion, including convarsions, replacamanty or,
the exercise of ro-ontry provisions or, if special premium rate quotations are mats, commission rates shall ba
such ne muy be fixed by thm Ingucor tu of the timo when isette fe effective in accordance withrates ond practices
of the Insurar thon it affect.

in the overt any policy on whiok the REPRESENTATIVE Is entitled to commissiona shall lapse bocause of nompay-
mont of promium and shall be replaced or zelnstatad, ony comousstons on the now or reinstated policy shall he
payable only atthe sole diseretian of the Inaucer,

fi. ‘Te be nntiflad to commissions, lf any, the MUPRESENTATIVE's namie or tho namo of another Bapresenative under
your Jurlsdiction must appear ax sallalting agent on the application for insurance, Dinputes resporting commls~
sions shall be subject to. doci#ion and sattlamanit by the losurer and the insuror's decision shall be finaland

binding upon the parties involved.

Whonover, in tho Judgmont of the Insurer, it shall become advisabls to recall any-poliny issued hafore dolivary
thornofis made, the REPRESENTATIVE shall promptly refund to the Insurer any commissions recolved on
necount ofsuch policy. Whennver alter delivery, the Insuror shall efoctor procitre the surrender, resoission or
cancellation of my polley and refind premiums pold thoroon, the Insuror shall have the right to. charge back |
commissions and demand that tho REPRESENTATIVE ropay such commissions to the Inseron Ifthe Insurar shall
rotund ot waive the preclumt or promiums wider the provisions of any disability walver of premium rider, the
REPRESENTATIVE enall jose all rights te enmrnission mid persistency fess as applied ta such refunded or walvord
promluns, aud shall ropoy any amounts advanced, An Insurer may include tn tts Commission Schodulo, which Is
incorpprated nsx part ofthis Agrasmont, gildalines dascrihing more specifically the ciraumpstuneas tnder which
it will charge back commissions on certaln products, {nthe abenace ofauch guidelinas, the Insuror’s rights shall
ie an desoribed ii this Section V. Compensation.

G. In the aventany policy on which the REPRESENTATIVE is entitled te commissions shall bo converted or ropkiced,
any commilsslons on the new potiey shall he anhject to adjustmont and payable only at the solo discretion of the:

Insurcn

t,

2

=

F,

+

AGL /BECHTEL 000060

canted eet tte em
. Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 23 of 26 PagelD 1484
Case 8:15-cv-00192-AF ~ Document 71-2 Filed 05/06/16 F ‘e 5 of 8 PagelD 972

A, Excaptwhere prohibited by any Stale, the NEPRESENTATIVE is responsible for all Icons fees, jncluding those of its
Raprasentatives, The Insurer's discretion shall govern with respect to wh othur the insurer shall charm to the
REPRESENTATIVES commission ox other componsation necount tho cost of obtaining and renaeing tho
REPRESENTATIVE's ond Its Represontatives’ Heonse or licenses and/or appointment (eas. This practice is subject to
change at in discretion of the Insurer

1, Policy applications for any Insurer will be issued and coramissions paid by the Insurer.
VL VESTING

- A. Aslong as this Agreomunt remains in effect, ull first yoor and ronewsl commissions shall bo paid a8 thay
agora: however any such puymonty oro subjnol to the schedule of commissions in effect at thu date tho first
fall premium js received by the Insurer, the provisions ond rules of the Insurer regarding ralnlmure first your
nod renova cormisstons required to isuue a check, :

B, During any consncutive L2-month. paried followhng the tnanination ofthis Agreomant, totel ronewal comis-
-siong are less tan tha minimum required by the Insnror, vosting autormnlically torminates and no addigonal
coranitssion paymarts will be duc fram the Insurer

C, in the event this Agreement ix tanminnted by the death of tho REPRESENTATIVE, all frst yoar and ranowal
_noromissions shall he paid as they actran, suljoot only to tho terms and conditions of puragraphs A and
imunndintuly above, In the absence of a propatly exocutad housiclary dusignation on filo with Tho insures, oll
such payments, if any, shall bo mazis to tho surviving spouso and at tae death of the surviving spouse to the
nstate of said spouse, If the REPRESENTATIVE dies loaving no surviving spouse, such monies wil bo pald to
tho osiate of the REPRESENTATIVE: provided howovar, that! tha REFRESENTATIVE ts a corporation dra
prxtnership, all such payments will be paid to sald corporation or partnershtp.

Vi, GENERAL PROVISIONS

A. The Insurer mey make such chunges and dacisians as it deems advisnhle in the conduct of its business,
including the Breontinunnce of any pollay form ortho withdrawal from ony territory, snd the Insurer shall
Incur no ability to the REPRESENTATIVE by renson of its doing sc.

B. Te Insurer ghall have the righi to test markat any of tis products on a select basis ond nt the discration of the
nsuror.

C. ‘The REPRESENTATIVE shall indemnify and hold tho Insurer harmless against or from any aad nl expense,
chsts, causes of action, und damages including without limitation, raasonable anoragy feas, rosulting from or
growing out of any unauthorized or negligant net of commisaien or omission by the REPRESENTATIVE ar its
amployoes, directors, olficors, or Representatives under fts joisdiction. ‘This provision shall survive tarmina~

tion of this Agreamont,

The Insurer shall have w prior right and offany to all carmmissions and foes payable horounder toward any
indebtedness and/or other obligations due from tho REPRESENTATIVE or anyane undor the Jurisdiaion af ths
HEPRESENTATIVE to ony Priniery Company and/or Affiinied Campany/ies with intorest atthe lagal rate. This
prior right and offsetshal not:bo extinguished by tho terminatlon of fhis Agroement, Pollowing the termination
af any Representative undor tho Jurisdiction of the REPRESENTATIVE, should the amount in ony comuriisston
aecount of fiat Reprasentative be Insulliclont to repay any amount dup the Insurot, the debitwill hacome the
rogponalbility of the REPRESENTATIVE, in accordance with the Tneiror's then currant debit collection proce-

durt,

'R, Neltharthe Agroomant, any dutles:or dologatton under this Agrooment, nor {he comcalssious or feos neortting
bernwmdot, nar any interest herein, nor uy right or claim craated horeby or arising by reason ofthe REPIE-
SENTATIVE acting hereunder, shall be asalgnable, except upon the written. consent ofthe Insurer,

RB Forhegrance or fallure of the Insurer to insist upon parformance of this Agreoment or to onfores its rights
herounder, stall not constiate ¢ walvor of fis Sights ar privileges hereunder or of ite subsequent right te inaist
upon such parformance.

This Agrooment, Including the Appolntmont Application and any Commission Schadule(s) inzorpornted ax pact
ofthe Agraament, contains all promises, inducements and roprosontations hotweon the partes. This Agroo-
montsupsrseges any and af previous Agraoments hewean the partes heroin pertiining to the sulloltattor of
the Insurer's products and the peymont of monins to the REPIESENTATIVE provided, lowaver thet rights or
obligationt which have alerady aporacd (and would survive torminution) undor any provieus contract hetween
the {nsarer and the REPRESENTATIVE shall not ho hereby Impairod.

1, ‘Tho Lnsuror reserves thexightte decline or modify any upplicntion for Insurances.

1. This Aqgrammont shall nat be ofective andl axeouted by the Primary Company, Once this Agreemant is affective
with tho Peimury Company. ik may besome offactive with Affiliated Companylios) as described herein.

DB

2

AGL/BECHTEL 000061
. ° , Case 8:15-cv-00192-AEP Document 127-1 Filed 05/02/17 Page 24 of 26 PagelD 1485
Case 8:15-cv-00192-AF” Document 71-2 Filed O5/06/16 F 1e6 of 8 PagelD 97

2, Should tha ABPRESENTATIVE, at any te, violate.any provision of Soctlon Uf of this Agrooment, entifed Limitation of |
Authority, or commit any fraud upon insuror or its policyholders; hava a Licanse as agont or brokerravoked forcause
afer notice oid hearing by a stete Insurance department or otherwise act te prejudice matarially the interests of

Jasuror, the REPRESENTATIVE shell, at the option of the Inguver, forfolt any and all yights to all commissions and
morning that thy REPRESENTATIVE might othorwlas have wndoy this Apreemenrt, vested or not, It is axprassly agrend
thattermination of tis Agraament shall nol terminate this pravision. . :

K. The REPRESENTATIVE agrees to maintain. eomplote and accurate rocords of thn marketing and sule of tho Insurer's
products, Tho Insurer reserved the right to {napicct such records and othar desumonts in gach REPRESENTATIVE's
les that relate to the marketing, attempted sale or sale of the Insurer's products, Ifthe Insurer chooses to Inspast
such records, It will ondanverto do so luring normal business howrs and after giving ressonabla notion, arless, In the
Jjudgrannit of tha Inguros, unusual olrsumetances require inspection at other timos or inspection without prior notice,
“This provision shall gurvive termination of this Apeomontfor 2 period of twe (2) yoars.

L, For as Jong as this Agreoment {s In forse, the REPRESENTATIVE will maintain Brrars and Omisstons (&O} coverage
and will provide the insurer asmunlly proof otsvch BAO coverage In o manner acceptable to fie Insures

_ Mitthe MEPRESENTATIVE Is sorvad with o regulatory inquiry or legal papers involving Insuror business, iho REPRE
SBNTATIVE shall inmediately notily the Insurer by sending to that Insurer’s Compliance Officer, a copy of tho papers,
served by overnight delivery, ay the end of tha business day next following the day of racnipt by
the REPRESENTATIVE,

N, The HEPIISENTATIVE Is responsible for xsmuring that any Representative under the diniediction of tha REPHESEN-
TATIVE: (1) hoveme fully informod as to tho provisions and bendfits af each product offorad by the Insuror for which
the Represontative conducts Insurer business; (2) reprasont such products adequately aud fairly to prospoctive
purchasors; and (3 act in compliance with the Insurnr's. policies and procedures as sot out bn tha Customer Service
and Compliance Manual, Operations Manual, or otherwise communicated to the REPRESENTATIVE, Jadading,
without limitation, those ragnrding sulmbility of sales Inquizies and compliance with the insucor's prindples and code
of uthleal marker condiet.

©, When tho Insurer assigas to the REPRESENTATIVE any agoney not rectulted by the REPRESENTATIVE, thon the
Insurar may reassign that pponcy 4p another upline of the Insurer's chaice at any timo und without tho nocossity of a
rolanse from the REPRESENTATIVE, Ifthe Insurer wishes to ramove any agency recruited by the REPRESENTATIVE
Irom fo Jurletevion of the REPRESENTATIVE, tho Insurer will nngotiste n reloaso; however, such relonse will not bo
anreasonably withheld by the REPRESENTATIVE, :

P REPRESENTATIVE Is not ontitled to participete in any REPRESENTATIVE henelit programs except those which ara
provided hy the Primary Company. REPRESENTATIVE Is uot aligihls to participate in, or to yaceive any honofits irom,
any programe provided by the Affilate Campanysios.

0. Disputes arising undor this Ageuomant shell ha subject to the laws of the state where the Insurer onfagnd.to the
Wspuis isJocatad,

Tt, Tho axoa within which the NRERESENTATIVE shall have the right to represent ho Insuror ts not assigned oxolugively
to the REPRESENTATIVE, .

§, RBPRESENTATIVE agrees to conform to all regulations of the Insurance Dopartment and the insurance Inws in. tho
state(s) in which the REPRESENTATIVE is conducting Insurer's businass. .

T, WEPRESENTATIVE anderstands and agrees that()) the Primary Company may amend the Agreemont ar the Canipany’s
pollcias, rulos ond procedures, in order to comply with changes in Jaws or regulations, ay ag the Company daams
apppapriate rolnted to chonges in lows or xagulations, through eammuntcation of any such amendmantto

RERESENTATEVE, and (i) For purposes of any such amendment, communlestion may Include, buc not be Iimilted fo,
pusting of amontiment information on the Pelmary Company's wahsltes or other means of making such information

loxowu or nwvallublo to the agent

VIL. TERN NATION

A, ‘This Apreement shall avtomatinelly terminate upen the death of REPRESENTATIVE i REPRESENTATIVE Js an
ind] ividual or npon dissolution of MEPRESENTATIVE if REPRESENTATIVE is a edrporation or & partnership.

8. This Apreemont shall terminate upon the revocation or nan-renewal of tha RUPRESENTATIVE's llvonec.

This Agreoment may dis terminated with or without causa by any Insurer (subject to provisions Band & bislow) or
the REPRESENTAT! B hy sending written notice of such torminution to the Inst own nddrass of the othor party.

AGL/BECHTEL 000062
Case 8:15-cv-00192-AEP - Document 127-1 Filed 05/02/17 Page 25 of 26 PagelD 1486
Case 8115-cv-00192-AF Document 71-2 Filed 05/06/16 F 2 7 of 8 PagelD 974

-D. Upon fexminution, the REPRESENTATIVE shall immediately pry In cash to the insurer 4 susos that are dus
or become duc harounder ard shall immediately deliver to the Insurer all waterints connected with the
business ofthe Insurer aml belonging to the Insuror. Such materials include, hutare not limiwd to, rita
exrds, latiers, racards, computer software, gonsral supplies or any and all other indications of agency
provided by thn Insorex. [tia oxpressly apresd that terminadan of this Agrosroent doas notrelenge the.
REPRESENTATIVE from comtlauieg Hobility ta the Insurer for immediate repayment of any unt-all wngerned
irstyexr commissions or bonures,

® "Terminatlon of this Agraomont by the Primonry Company terminates all contrnets with AlDinted Company/ies
without spoclfic. notices to the REPRESENTATIVE roquirad by the Insuren However, any AlGinted Company
may tarminate Hs agency relationship with the REPRESENTATIVE, which will mot, of steel, terminate the
Primary Company agency reletionship, Upon termination, the Inshror may assign a servicing agency;
however auch assignment will not of itself affect the vesting of axlgting businnss, ,
% ‘Terminetlon of thts Agroament autonsndienlly terminates any provious Agrooment to represent the Insurer
that terminated the Agroonent.

IX. AMENDMENT

‘This contract connot be changed hy any oral promise or shitemont and yo wrilten morlifiention will bind the
insurer wilose approved by the Preshdont of the Insurar making the modification,

x. PERSONAL GUARANTEE ,

Cock and overy individual who sigas this Agreemnnt warrants that they have authority te bind tha ontity on whase
bohalf they are signing.

Xi. EFFECTIVE DATE

Tho aptecd effective date will bs the date that this Agreement to roprosant tesignad and acknowledged by the
Primary Company as heretnafter specified,

XIL INVESTIGATION NOTICE

"The uridersimed horoby nuthorizes the Primary and Alliliated Companyfies to conduct of investigadon nercorn~
ing charactes oradit reputation and personal waits and relonses these contacted and the Insurer from any ‘ability
with respoct to dhe content of the Informution provided and any resulting cetion by the Insurer Including the
sharing of such information ot the termination of this Aprecment to reprasent,

XL FEGERAL CRIME CONTROL ACT

ADadersignad warmuats i:
1, has not boan gunvicted of any cringinal folvay involving dishonesty or breach oftrust or

2, has obtained verilien authorization to ongege in the hustness ofinsucance from the Insurance Dopartmontin
the state whore REPRESENTATIVE rosidos which RUPRESENTATIVE agrees to produce upon Instirer request.

B. Tho REPRESENTATIVE agrees to update tho representatlone in the Confidential Histary/Background Informa-
tion Section of Zart 4 of the Appointment Applleation hy notifying the Primary Company lo vrldng within thirty
(30) days, if thore should bs a change in the responao to eny question in thy Information Section of Part 4-4f the
Appolnbrent Application.

XVI, PRIVACY CONTROL & SECURITY

A. "Protected Health. Duformation” and. “Nonpublic Personal Information” shall be coRoctively called tha
“Information” in this Section, XVI, Privacy Control and Security,

B, All Information which eny party obtains as 9 romutt of this relationsh{p shall ot bo collectad, ar used, dis-

- “ghosed, rousod av redisclosad to any thied party, oxcop to enrry out the purposes for whieh the information
was disclosed, The REPRESENTATIVE shall maintain tho anfidantiality of information consistent with the
Company's noflees of privany practices, policies and procodurus, provided that such tse or disclosure would
not violate any applicable lnws, rules ar regulations if dono by the Company.

C, The REPRESENTATIVE shall use commorctally reasanoble offerte and. appropriate safeguards to maintain tha
intogelty, confidentiality, end. security of PH) and to prevont the unauthorized use or disclosure of PHL and to

AGL/BECHTEL 000063
Case BiS-VOO fee Ar OBSdlinent 712 Filed G6é1e Peet 8 Pagel S757"

comply with the security standards or tho HIPAA sucurlty pogulations. Upon Company request Agent will
provide to the Company acpang to and documentatlan regarding any safeguards.

D, Bach party shall bo pormittad to dissloso relovant aspects of tha other parties” Informntion.to Its officers,
agents, subcontrictors and amployaes only te the extent that auch disclosure iy reugonnbly necessary for the
periormanse of dts duties and obligations undor the Agreement; provided that such party shall urke all
rensonable measures to ensure that the Information of auother party Is not disclosed or reproduced in
contravention ofaach of the obligations ofthis Agreement by such party's officers, ngonts, subcomteicters und
employeus, Tho obligations of this Ammrwameant arn parsanal to each party,

E, The REPRESENTATIVE shall report promptly within sovan (7) days wo thu Company's Privacy Officer in writing

_agy uso or disclosure of Information that!s not pormiltted by the Agraomont or any addendum, of which tho
REPRESENTATIVE hocanes aware, NEPRESENTATIVE'S report-ahallidemiify: (4) the nature of the mautho-
rized use or disclosure, (i) the Information used or disetased, (1D who mada the unauthorized use or received
the unauthorlzad disclosure, (fv) what REPRESENTATIVE has done or shall do to mitgaty any doleterlous
affect. of the wiauthorlzed nao or disclestira, [¥} what corractive action REPRESENTATIVE has taken or shall
take to pravant future similar unauthorized use or disclosure, and (v) any other Information us reasonably
requested by the Companys Felvacy Olean oo, oe

F ‘The REPNESENTATIVE shall require wl! of its amployeus, representatives, subcontractors or agents that
receive or have access 16 Juformation to ngree to adhore to tha sume restrintions and conditions on fhe use
and/or disclosure of Information that apply heceln, including the obligation to return or destroy the
trfoumnation as provided for below.

G. Tho obligations In this Agraamont shall not restrict any disclosure by any party pursusnt to any a ppliorle
state or ledoro} lawa, or by request or orlor of any court or Rovernment agency, ‘Tha REPRESEN TIVE shall
dromediately notify Company upon receipt hy the REPRESENTATIVE of any roquost from the Dopartnontel
Hoalth and Human Serviess for tho REPRESENTATIVE'S internal practices, books, and records relating to the
ieee wud disclosure of information.

H. Within ton (10) days of recalving a written request from Company, the REPRESENTATIVE shall provide to the
Cempany such information os is requested by tho Company, if any, to permit the Company to regpand to a
requect.by an individual Jor accass to, an amondmuntt of, or an sconunting ofthe disclosures of the
intividual's PHLin arsordnoce with 45 C.RR, Sacs, 164.524, 164.526, and 164.528. If an, individual contents
the REPRESENTATIVE directly about access to, amendment of, or an xecounting of diselosures of Kis/har PEL,
the REPRESENTATIVE will forward such raquast immediatly 10 the Company and not prov ide such aeons,
anondment, or disclosere, Nowwilhstanding mnydiing horeln to tie gontrary, REPRESENTATIVE shall make
reasonable efforts to cooperate with the Company in responding to any stich requests and enabling the
Company to comply with federal Jaws and regulations regarding the timing ol response to such requests.

1. ‘Chis Section XVI, Privacy Protoction and Severity, will survive the termination or ox ination ofthis Agreomuant.
Upon termination of the Agresmens, the REPRESENTATIVE shall return or degizay (with the Company's
verituen permission) all Information hint REPRESENTATIVE snaintains in any form pursunnt to tho Agreement,
nnd retain no oaplas of such information. However, ifthe Company determines that such reture. or destruc-
tion is not fexsible, REPRESENTATIVE will continu to oxtend the protections of this Addendum. to such PHI
aud limit furthor use of the information to the purposes that make tho return or destruction nol Texsibls, Tha
respoctive rights and obligations af each party pursvant to this subsection shall surylye the teroination of the

Agreament,

AGUDOSE 1100

AGL/BECHTEL 000064
